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                                                                      BY:---~
                                                                         DEPUTY CUiflK
                      IN THE UNITED STATES DISTRICT COURT

                      DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,

                      Plaintiff,

        vs.                                        INDICTMENT

  BENJAMIN SMITH                                    VIOLATIONS: 21 U.S.C. § 841(a)(l),
  alk/a T.J. Smith & Vernon Smith,                  Possession with Intent to Distribute a
                                                    Controlled Substance [Count 1]; 18
                      Defendant.                    U.S.C § 924(c)(l)(A)(i), Use and Carry
                                                    a Firearm During and In Relation to a,
                                                    Drug Trafficking Offense [Count II];
                                                    21 U.S.C. § 844(a), Possession of a
                                                    Controlled Substance [Count III];
                                                    18 U~S.C. § 922(g)(l), Felon in
Case: 2: 13-cr-00776                                Possession of a Firearm and
Assigned To: Benson, Dee                            Ammunition [Count IV]; and
Assign. Date: 11/20/2013                          , 18 U.S.C. § 922(g)(3), Illegal Drug
Description: USA v.                                 User and Addict in Possession of a
                                                    Firearm and Ammunition [Count V].


        The Grand Jury Charges:

                                         COUNT I
                                   (21 U.S.C. § 841 (a)(l))
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      On or about August 1, 2013, in the Central Division of the District of Utah,

                                    BENJAMIN SMITH
                             aJk/a TJ. Smith & Vernon Smith,

the defendant herein, did knowingly and intentionally possess with intent to distribute 5

grams or more of methamphetamine, a Schedule II controlled substance within the

meaning of21 U.S.C. § 812; all in violation of21 U.S.C. § 841(a){l) [and punishable by

21 U.S.C. § 841(b)(1){B)].

                                       COUNT II
                               (18 U.S.C § 924(c){l)(A)(i))

       On or about August 1,2013, in the Central Division of the District of Utah,

                                    BENJAMIN S.MITH
                             aJk/a TJ. Smith & Vernon Smith,

the defendant herein, did knowingly carry and use a fIrearm, that is a EEA .40 caliber

semi-automatic pistol, during and in relation to a drug trafficking crime, to wit:

possession of methamphetamine with intent to distribute, a violation of21 U.S.C. §

841(a)(l), as alleged in Count I of this Indictment, which Count is incorporated by

reference herein; all in violation of 18 U.S.C. § 924(c)(I)(A)(i) [and punishable by 18

U.S.c. § 924(c)(1)(C)(i)].

                                        COUNT III
                                    (21 U.S.C. § 844(a))

       On or about August 1,2013, in the Central Division ofthe District of Utah,

                                    BENJAMIN SMITH
                             aJk/a TJ. Smith & Vernon Smith,




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the defendant herein, did knowingly and intentionally possess a mixture and substance

containing marijuana, a Schedule I controlled substance within the meaning of2l U.s.C.

§ 812; all in violation of2l U.S.C. § 844.

                                       COUNT IV
                                  (18 U.S.C § 922(g)(I))

   On or about August 1,2013, in the Central Division of the District of Utah,

                                  BENJAMIN SMITH
                            aJkIa TJ. Smith & Vernon Smith,

the defendant herein, having been convicted of a crime punishable by more than one year

in prison, did knowingly possess in and affecting interstate and foreign commerce one or

more firearms and ammunition, to wit: an EEA 040 caliber semi-automatic pistol and

associated ammunition; all in violation of 18 U.S.C. § 922(g)(1) [and punishable by 18

U.S.C. § 924(a)(2)].

                                       COUNT V
                                  (18 U.S.C § 922(g)(3))

   On or about August 1,2013, in the Central Division of the District of Utah,

                                  BENJAMIN SMITH
                            aJkIa TJ. Smith & Vernon Smith,

the defendant herein, then being an unlawful user and addict of a controlled substance as

defined in 21 U.S.C. § 802, did knowingly possess in and affecting interstate and foreign

commerce firearms and ammunition, to wit: an EEA .40 caliber semi-automatic pistol

and associated ammunition; all in violation of 18 U.S.C. § 922(g)(3) [and punishabl¢ by

18 U.S.C. § 924(a)(2)].



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                        NOTICE OF INTENT TO SEEK FORFEITURE

            As a result of committing the felony offenses alleged in Counts I through V of this

    Indictment, each of which is punishable by imprisonment for more than one year, the

    defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853 for Counts land

    III and 18 U.S.C. § 924(d) for Counts II, IV, and V, any and all property constituting or

    derived from any proceeds the said defendant obtained directly or indirectly as a result of

    . the said felony offenses and any and all property, real and personal, used or intended to

    be used in any manner or part to commit and to facilitate the commission of the violations

    of21 U.S.C. §§ 841(a)(I) & 844 and 18 U.S.C. §§ 924(c), 922(g)(1), & 922(g)(3) any

    property traceable thereto; including but not limited to:

        •   The EEA AOcaliber semi-automatic pistol and associated ammunition.

                                                    A TRUE BILL:


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                                                       F REPERSON OF THE GRAND JURy




    Assistant United States Attorney




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